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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 15-0152-FMO


 Defendant          GARY JOSEPH ORDOG                                       Social Security No. 6       4     8    7
 akas:    NONE                                                              (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.       10    06   2016

  COUNSEL                                                           Elon Berk, Retained Counsel
                                                                           (Name of Counsel)


  FINDING           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                   Count 1:          Health Care Fraud - 18 U.S.C. § 1347

JUDGMENT The court inquires as to whether there is any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the court, the court adjudged the defendant guilty as charged and convicted and ordered as
  COMM    follows:
  ORDER

       Defendant is committed to the custody of the Bureau of Prisons for a term of eighteen (18) months. The
court recommends to the Bureau of Prisons that defendant be placed in the facility in Lompoc.

       Upon release from imprisonment, defendant shall be placed on supervised release for a term of three
(3) years under the following terms and conditions:

         1.         Defendant shall comply with the rules and regulations of the United States Probation Office,
                    General Order 05-02, and General Order 01-05, including the three special conditions delineated
                    in General Order 01-05.

         2.         During the period of community supervision, defendant shall pay the special assessment and
                    restitution in accordance with the Judgment’s orders pertaining to such payment.

         3.         Defendant shall not be employed in any position that requires licensing and/or certification by any
                    local, state, or federal agency without the prior written approval of the Probation Officer.

         4.         Defendant shall cooperate in the collection of a DNA sample from defendant.

         5.         Defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                    judgments and any anticipated or unexpected financial gains to the outstanding court-ordered
                    financial obligation.

         6.         During the supervised release period, defendant shall participate for a period of twelve (12)
                    months in a home detention program which may include electronic monitoring, GPS, or
                    automated identification system and shall observe all rules of such program, as directed by the
                    Probation Officer. Defendant shall maintain a residential telephone line without devices and/or

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                    services that may interrupt operation of the monitoring equipment. During the period of home
                    detention, defendant shall be permitted to go to and from his place of employment, transport his
                    children to and from school or school activities, and go to his own or his family members’ medical
                    or counseling appointments. Defendant shall pay the costs of location monitoring, not to exceed
                    $12 for each day of participation in the electronic monitoring or GPS system. The Probation
                    Officer may waive some or all of the costs if it is determined that defendant does not have the
                    ability to pay. Defendant shall provide payment and proof of payment as directed by the Probation
                    Officer.

       It is ordered that defendant shall pay restitution in the total amount of $1,295,699.57 to Medicare.
Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of the restitution
remains unpaid after release from custody, nominal monthly payments of at least 10% of defendant's gross
monthly income but not less than $100.00, whichever is greater, shall be made during the period of supervised
release and shall begin 30 days after the commencement of supervision. Nominal restitution payments are
ordered as the court finds that defendant’s economic circumstances do not allow for either immediate or future
payment of the amount ordered.

        Interest on the restitution ordered is waived because defendant does not have the ability to pay interest.
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g). All fines
are waived as it is found that defendant is unable to pay and is not likely to become able to pay a fine in addition
to restitution.

      Defendant shall pay to the United States a special assessment of $100, which is due immediately. Any
unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program.

       It is further ordered that defendant shall surrender himself to the institution designated by the Bureau of
Prisons on or before 12:00 noon on December 6, 2016. In the absence of such designation, defendant shall
report on or before the same date and time to the United States Marshal located at the Roybal Federal Building,
255 East Temple Street, Los Angeles, California 90012. Defendant’s bond shall be exonerated upon surrender.

         Upon request by the government, Counts 2 and 9 of the Indictment are hereby dismissed.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 11, 2016                                           /s/ Fernando M. Olguin
            Date                                                  FERNANDO M. OLGUIN
                                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.



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                                                                            Clerk, U.S. District Court



            October 11, 2016                                         By       /s/ Vanessa Figueroa
            Filed Date                                                      Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                 time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                    of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date




                    U. S. Probation Officer/Designated Witness                      Date




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